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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

YUXI WANG
Plaintiff,

Case No.: 1:23-cv-06420
Vv.

Judge Thomas M. Durkin
THE PARTNERSHIPS AND Magistrate Judge Beth W. Jantz

UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

Defendants.

NOTICE OF VOLUNTARY DISMISSAL

Pursuant to FRCP 41(a)(1)(A)(i), Plaintiff hereby inform this Court that Defendant
IGEON (NoJ9), identified in Schedule A of the Complaint, and Plaintiff

have reached Settlement. Plaintiff hereby voluntarily dismisses Defendant from this dispute, each

party to bear its own fees, costs, and expenses.

Dated: 31 January 2024

DeWitty and Assocs
Attorney, Plaintiff

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2025138071
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on 31 January 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered

attorneys of record.

Robert M. DeWitty
